
ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Michael P. Ara-ta, Louisiana Bar Roll number 21448, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
NEW ORLEANS, LOUISIANA, this -day of_, 2016.
FOR THE COURT: /s/ /s/ Justice, Supreme Court of Louisiana
